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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:11-cr-00286
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
RICHARD JAY MORRIS ,                )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on January 12, 2012, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Richard Jay Morris entered a plea of guilty to the Superseding Felony

Information in exchange for the undertakings made by the government in the written plea

agreement. In the Superseding Felony Information , defendant is charged with conspiracy to

distribute and possess with intent to distribute 500 grams or more of a mixture or substance

containing a detectable amount of cocaine and a quantity of methamphetamine, both Schedule II

controlled substances, and 100 kilograms or more of marijuana and a quantity of 3,4-

methylenedioxy methamphetamine (MDMA), commonly referred to as “Ecstacy,” both Schedule

I controlled substances in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B)(ii), (vii) and (C). On

the basis of the record made at the hearing, I find that defendant is fully capable and competent to

enter an informed plea; that the plea is made knowingly and with full understanding of each of the
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rights waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to the Superseding Felony

Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: January 17, 2012                                 /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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